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           IN THE UNITED STATES DISTRICT COURT FOR THE

                        DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:92CR14
                              )
          v.                  )
                              )
CHRISTOPHER SCOTT,            )                    ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s motion

(Filing No. 1026) for reconsideration to alter or amend judgment

pursuant to F.R.Civ.P. Rule 59(e) and for extension of time.

Defendant relies primarily upon Amendment 591 to the United

States Sentencing Guidelines.        That amendment is not applicable

to his case or to his sentence which was imposed pursuant to the

Continuing Criminal Enterprise provisions of 21 U.S.C. § 848.

Amendment 591 was promulgated to clarify imposition of sentences

for drug offenses occurring near protected locations or involving

underage or pregnant individuals.        Having reviewed this file, the

Court finds defendant’s motion is without merit and it will be

denied.   Accordingly,
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           IT IS ORDERED that defendant's motion for

reconsideration to alter or amend judgment pursuant to F.R.Civ.P.

Rule 59(e) and for extension of time is denied.

           DATED this 13th day of January, 2006.

                                     BY THE COURT:

                                     /s/ Lyle E. Strom
                                     _________________________________
                                        LYLE E. STROM, Senior Judge
                                        United States District Court
